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                               IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF DELAWARE



In re
                                                                        Chapter 1l
RCS CAPITAL CORPORATION, et al.,
                                                                        Case   No.: 16-10223 (MFW)
                                       Debtors.
                                                                        Adv. No.: l8-50204 (MFW)
RCS CREDITOR TRUST,

                                       Plaintiff

                                 vs.

SCHULTE ROTH &. ZABELLLP,

                                       Defendant.
                                                                   X



                         MEMORANDUM IN SUPPORT OF MOTION FOR ORDER
                            TRANSFERRING ADVERSARY PROCEEDING
                          UNDER 28 U.S.C. S1412 AND FED. R. BANKR. P. 7087

                                                   Preliminary Statement

                       The Court should transfer this action to the Southern District of New York. Neither

the debtor, the defendant, the witnesses, nor the alleged transfers have any connection to this

district.   See accompanying           affidavits of Martin L. Perschetz and Michael L. Cook, sworn to March

5,2018 ("Perschetz Aîf." and "Cook                 Aff.").   The only connection here is the main Chapter l1 case

for two New York City debtors, RCS Capital Corporation and its affiliate Realty Capital Securities,

LLC (collectively, "RCS"), but the Court confirmed the debtors' Chapter 11 plan two years ago on

May 19, 2016. D.L 769; Complaint fl 10. Administration of the main case is over, and the debtors'

plan became effective on May 23,2016. D.L 782; Complaint fl 11. Confirming that this action has

nothing to do with the administration of the main case, the plaintiff trust waited two years to sue,


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iust before the applicable statute of limitations period was about to expire. In re Centennial Coal.

Inc.,282 B.R. 140, 144-45 (Bankr. D. Del. 2000) (plan substantially consummated; transfer would
       oodelay.
not               .   .administration" of estate).

                        Plaintiff apparently filed the complaint here in Delaware on January 30, 2018, in the

hope of forcing SRZ to incur unnecessary costs of litigating in a distant forum. It knew that neither

the debtors nor SRZ do business in Delaware. Perschetz Aff., at I-2, Exh.               A.   In fact, RCS and SRZ

did business in New York City, and expressly agreed to arbitrate any dispute between them in New

York City.            Id. The plaintiff creditor     trust has New York City counsel. Perschetz Aff., at   3.   The

plaintifls "trust administrator," with primary executive responsibility for the Creditor Trust (D.L

735-l,at4) is based inNew York and serves as trustee and restructuring officer in major                   Southern

District of New York cases. Cook Aff., at 2. The relevant books and records are in New York City.

Perschetz       Aff., at 2. The challenged transfers occurred in New York between the New York               based


RCS and its New York counsel, SRZ.                     Id. No one who participated in the underlying      transfers

resides in Delaware. Id. at           3. In short, Delaware is not a convenient venue for this dispute.

                         The Court should not have to waste any time or resources dealing with this recently

filed complaint. Plaintiff has already required SRZ to incur unnecessary costs, including the                   costs


associated        with filing this motion. The Court should transfer this action to the Southern District of

New York, which is more convenient for RCS, SRZ, and the witnesses.

                                               Relevant Statute and Rule

                         "A district court may transfer a...proceeding...in the interest of justice or for the
convenience of parties" 28 U.S.C.               $ 1412. According to Federal Rule of Bankruptcy         Procedure

7087, in relevant part, "the court may transfer an aclversary proceeding...to auother district pursuant

to 28 U.S.C. $ 1412 . .           ." As shown below, the Southern District of New York is significantly      more

convenient for the relevant parties and the witnesses than the District of Delaware. "Section              l4I2    is

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phrased in the disjunctive and a proceeding is subject to transfer upon a showing that either the

interest of justice or the convenience of the parties is met." In re Northfield Laboratories, lnc.,467

B.R. 582, 590 (Bankr. D. Del2010).

                                                    Relevant Facts

         I         The Alleped Transfers Occurred in New York Citv. Not f)elaware

                   All of the transfers       alleged in the complaint here took place in New York, between

the New York debtor and SRZ, its New York counsel. Perschetz Aff., at                     2.   See McFarland   v.


Yegen,699 F. Supp. 10, 13 (D.N.H. 1988) ("claim for relief'can occur only where defendants

'ocommit or fail to commit the actions" that are the subject of the complaint).

SRZ rendered services to RCS only in New York City, in the Southern District of New York, not

Delaware. Perschetz Aff., at 2. To the extent RCS paid for SRZ's setvices, it did so exclusively in

New York        City. Id.     RCS also induced SRZ to continue performing services for           it in New York

without payment, leaving SRZ with an unsecured claim of at least $377,000. Perschetz Aff., at 2.

In re Northfield Laboratories. Inc., 467 B.R. 582, 591 (Bankr. D. Del 2010) (litigation belonged in

Illinois, not Delaware, because "case arose out of alleged misrepresentations made by residents of

[Illinois]. [Defendant debtor's] primary place of business was in [Illinois], [its] business records
were located there.    ..   ").

         2.        Neither the Debtor Nor SRZ Resides in Delaware

                   Plaintiff does not          and cannot        allege that SRZ resides in Delaware. Rather, it
                                          -                 -
ignores the facts, seeking to use this Court in a               fully administered case to harass an out-oÊtown

defendant..

                   Courts reject the notion that the Judiciary Code's nationwide service of process

provision (2S U.S.C. $ 1334(b)) is sufficient to establish venue in any United States district court.

In   l4røeltz   v. Delta Pilots    Ret.   Plan, the Seventh Circuit (following precedent set by the Ninth

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Circuit) explained that if Congress intended to have a federal statute's nationwide service of process

provision mandate venue in every district court, there would have been no reason for Congress to

enact a venue provision such as 28 U.S.C. $ 1404(a), the counterpart         to $ 1412. 301F.3d 804, 809

ç7th Cir . 2002) (discussing Varsic   v. United States Dist. Court for Cent. Dist., 607 F .2d 245 , 247 (gth

Cir.1979) with approval); In re Fed. Fountain. Inc., 165 F.3d 600, 601-02 (8th Cir. 1999) (en banc)

(despite national service of process in bankruptcy litigation, a defendant can always seek change        of

venue); see also McFarland v. Yegen,699 F.Supp. 10,           l4 (D.N.H.   1988) (mandated venue in every

district "would make the language of the venue provision superfluous.. . [T]hat also would be unfair

to the defendants, even considering the liberal intention of Congress").

                   SRZ, like RCS, resides in New York, where it maintains its principal office, but not

in Delaware. Perschetz Aff ., at 2. See, e.g., Seitz v. Board of Trs. Of the Pension Plan of the       N.Y.

State Teamster Conf, Pension          &   Retirement Fund, 953     F. Supp. 100, 102 (S.D.N.Y.        1997)

(defendant resided in Utica, where it had offices).

                   The plaintiff here could not have reasonably believed that venue was at all in

convenient in Delaware. It knew that SRZ is based in New York; that SRZ performed services for

the New York debtor, RCS, in New York (and never in or anywhere near Delaware); that RCS paid

SRZ in New York; and that SRZ has no offrce, records or employees in Delaware. The plaintiff

trust, with its New York trust administrator and its New York counsel, had no legitimate reason to

have commenced this action in Delaware other than to exploit an inconvenient forum or to impose

unnecessary expense on SRZ. See Hafterlaw v. Pal, LLC,2014 U.S. Dist. LEXIS 130130, at *15

(D. Nev. Sept. 27, 2014) ("[a] court may consider whether a complaint osmacks of harassment and

bad fäith' or contains indicia of f'orum shopping to determine whether a transfer would serve the

interests of j ustice".).



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                   THE SOUTHERN DISTRICT OF NEW YORK IS CONVENIENT
                            FOR THE PARTIES AND WITNESSES

                    The Court should transfer this case to the Southern District of New York for the

convenience of the parties and the witnesses.      A court can transfer a case pursuant to 28 U.S.C.            $


1412 when the moving party "show[s] that the action could have been brought in the transferee

district." Robert Bosch LLC v. Corea Autoparts Producing Corp.,2011 U.S. Dist. LEXIS                103170,

at *4 (D. Nev.2011). "SectionI4l2 of title 28 governs transfers of venue in            a. . . proceeding.   .   .,


while section A04(a) is the general transfer of venue statute applicable to all federal civil          cases


[but] [t]he analysis under either section is essentially the same, namely, whether 'justice' and the

'convenience of the parties' warrants transfer." In re IPC          Int'l Corp.. 2014 Bankr. LEXIS     4602,

*15 (Bankr. D. Del. 2014). To determine if a case should be transferred, courts evaluate the parties'

and witnesses' convenience based on the facts. Id. at       *5.   "The factors courts typically review when

considering the convenience        of the parties' under section 1412 include: (i) the location of          the

plaintiff and defendant; (ii) the ease of access to necessary evidence; (iii) the convenience of

witnesses; (iv) the availability      of   subpoena power; (v)      the expense of obtaining unwilling

witnesses." In re Northfield Laboratories, lnc.,467 B.R. 582,59I (Bankr. D. Del 2010).

                    A.     The Complaint Could Have Been Filed In The Southern District of New
                           York
                    The complaint here could have been filed in the Southern District of New York even

if this Court has jurisdiction over the matter. In   re Fed. Fountain. Inc., 165 F.3d 600 (Sth    Cir. 1999)

(en banc) (defendant can always seek change of venue). Under Section 28 U.S.C. $ 1334(b), "the

district courts shall have original but not exclusive jurisdiction of all civil proceedings arising under

Title 11....". Because this suit arose under the Code, all district coutts (like the Southern District of

New York) have subject matter jurisdiction over this dispute.           See   In re Fed. Fountain, Inc., 165

F.3d at 601-02 (national service of process permitted; "The inconvenience associated with                       a

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particular forum...can always be brought to the district court's attention by means of a motion

under 28 U.S.C. g 1a0a(a) [or $1412] which provides for transfer of venue        '[f]or the convenience of

parties in the interest of justice."). Indeed, RCS and SRZ agreed to arbitrate any dispute between

them in New York City. Perschetz Aff., at2.

                   As noted, the challenged transfers here took place within the Southern District of

New York. Perschetz Aff., at       2.   Because SRZ has its office in the Southern District of New York,

it both resides and can be found in the Southern District of New York.         See, e.g., Seitz v. Board   of

Trs. Of the Pension Plan of the N.Y. State Teamster Conf, Pension & Retirement Fund,953 F. Supp.

100, 102 (S.D.N.Y. 1997) (defendant resided and could be found in Utica, New York because it had

its office in Utica and its contacts in the forum were substantial and continuous).

         3.        The Southern District Of New York Is A Convenient Forum

                   Courts consider the following criteria to determine the convenience of the parties and

witnesses for transfer purposes:

                   "(1) plaintifPs choice of forum, (2) defendant's forum preference,
                   (3) whether the claim arose elsewhere, (4) location of the books and
                   records andlor the possibility of viewing the premises if applicable,
                   (5) the convenience of the parties as indicated by their relative
                   physical and financial condition, (6) the convenience of the witnesses
                   - but only to the extent that the witnesses may actually be unavailable
                   for trial in one of the fora, (7) the enforceability of the judgment,
                   (8) practical considerations that would make the trial easy,
                   expeditious, or inexpensive, (9) the relative administrative difhculty
                   in the two fora resulting from congestion of the courts' dockets,
                   (10) the public policies of the fora, (11) the familiarity of the judge
                   with the applicable state law, and (12) the local interest in deciding
                   local controversies at home.

IPC Int'I. Corp.,2014 Bankr. LEXIS, at*16, citing In re DHP Holdings           II Corp. 435 B.R. 264,273

(Bankr. D. Del. 2010). Accord, Jumara v. Statc Farm Ins. Co., 55 F.3d 873,879-82 (3dCir.l995)

("Everything related to this action occurred in Luzerne County, which lies in the Middle District:

plaintiff resides there, the underlying accident occurred there, and the requested arbitration will
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eventually occur there."). The Court should thus consider the relevant facts, using its discretion to

determine "on an individualized, case-by-case basis, whether convenience and fairness

considerations weigh in favor of transfer." Id., at 883. See Collier, Bankruptcy T 4.05 l3l, at 4-35

(16th rev. ed. 2016)     (". . . this list [of factors] is quite similar to [those] considered under Section

1404."). Accord Robert Bosch LLC v. Corea Autoparts Producing Corp.,2011 U.S. Dist. LEXIS

103170, at *5 (D. Nev. 2011); see also Lucarelli v. Rental Treatment Ctrs,-III., Lnc.,2008 U.S. Dist.

LEXIS 7173,        at*lI-I2   (D. Nev. 2003). This Court's IPC considerations warrant transferring this

case to the Southern      District of New York.

                    A.      Payments. Records and Agreement To Litigate in New York

                    The challenged payments occurred in the Southern District of New                York.      The

debtor, SRZ, and all relevant records are in New York City. (Perschetz Aff. at 3.) Moreover, RCS

and SRZ agreed to arbitrate any dispute between them in New York                 City.   Perschetz Aff., Ex. A.

As the Third Circuit noted in Jumara, courts "should place considerable weight on the parties'

original choice of forum, as expressed in a contractual forum selection clause." 55 F.3d at 882.

                    B.      Federal Ouestions

                    The issues involved in this case are federal questions, about which the Southern

District of New York and the District of Delaware are equally familiar. See In re Principal United

States Prop. Account       Litig.,2010 U.S. Dist. LEXIS 64342, at*16 (S.D.N.Y. 2010). The Southern

District of New York, like the District of Delaware, regularly disposes of preference actions.                 See,


e.s., Enron Creditors Recover), Corp. v. Alfa SAB, 651 F.3d 329 (2d Cir. 201 1)'

                    C.
                     All Events Occurred in New York¡ New York \ilitnesses, Parties and
Principal Place of Business

                    The plaintiff s choice    of forum may be given great consideration, but here oothe

operative facts have not occurred within the forum and the forum has no interest in the parties or


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subject matter, fand the      plaintiffs] choice is entitled to only minimal consideration." Lou             v.


Belzberg, 834 F.2d 730, 739        19th   Cir. 1987); Jumara, 55 F.3d at 882 ("everything related to this

action occurred...in the Middle District"       - outside the forum court); Centennial Coal,282       B.R. at

146 (defendant's choice of venue is fwhere] all claims in the underlying action arose, most of the

parties and witnesses reside, and is the principal place             of   business   of both [the debtor]   and

                                                                         o'choice of forum for its
fdefendant]....; suit transferred from Delaware). Indeed, the plaintiffs

bankruptcy case has no direct relation           to the operative, underlying facts of [this]       adversary

proceeding."       In re Buffets Holdinss. Inc. 397 B.R.        725 , 728 (Bankr.     D. Del. 2008). Further,

"deference is lessened" when, like here, "[p]laintiffs purport to bring their action in a representative

capacity" and where "[p]laintiff[s] [are] not [] resident[s] of this District (or even of this Circuit or

this state)." See Rader v. Bruister,2010 WL 2179799, at x5 (8.D. Ca. 2010); Deputy v. Long-Term

Disability Plan of Sponsor Aventis Pharms.,2002 U.S. Dist. LEXIS 22583, at *9 Q'{.D. Cal2002).

                   The plaintiff brought this suit in its representative capacity for the debtor's creditors,

few of whom reside in the District of Delaware. Aside from its New York counsel, the New York

based trust administrator      of the plaintiff trust has Minnesota counsel. Most significant, the trust

administrator of the plaintiff trust here is based in V/oodmere, New York, and regularly serves              as


chief restructuring officer and liquidating in major Southern District of New York cases. Cook

Aff., at   2.   Aside from its New York counsel, the plaintiff trust has Minnesota counsel. Most

significant, the plaintiff trust administrator is based in Woodmere, New York, a New York City

suburb, and regularly serves as chief restructuring officer and liquidating trustee in major Southern

District of New York cases. Cook              Aff, at 2.     Thus, plaintiff s choice   of forum warrants no

deference.




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                   D.     No Material Delaware Contacts

                   No parties reside in Delaware. (Perschetz Aff., at   3)   Of the debtor's creditors, less

than 1 percent even purport to reside in Delaware because of the location of counsel, but the

creditor itself is based in New York       City.   (Cook Aff.   f 5.) No Delaware-based     participant is a

party to this action.     Id. DHP, 435 B.R. at 274 ("[Defendant's]      counsel is in Texas; the Debtor's

operations are based in Kentucky; [defendant's] headquarters are in Georgia. Based on the parties

and their counsel's physical locations, the [Plaintiff] Debtors cannot show that Delaware is more

convenient than Georgia.").

                   E.      All Material Events Occurred in New York
                   Plaintiff does not allege that the challenged payments occurred in Delaware, for it

cannot. The RCS debtors were headquartered within the Southern District of New York and made

theirrelevantdecisions(e.g.,retentionof SRZ; payment)there. PerschetzAff.,at 1-2. Assetforth

above, SRZ performed all its services in New York City for its New York client. Id.

                   F.      Unnecessarv Added Expense

                   The cost of litigating this case in Delaware will be greater than the cost of litigating

it in New York.         SRZ and its counsel reside in New York, 129 miles away from Wilmington,

Delaware. Id. At        3. They will be required to incur travel costs for each court appearance. The
same is true for SRZ's witnesses, none of whom live in Delaware.           Id. The same is true for all RCS

witnesses. SRZ would also be required to pay for Delaware counsel              if this suit remains here. It
makes no economic sense to have this case heard more than 129 miles away from all witnesses and

relevant records.

                   G.      Unavaila     Wif nesses

                   The District of Delaware    will not be able to compel testimony of unwilling non-

Delaware participants. The appropriate knowledgeable RCS witnesses are based in New York City,

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not Delaware, and will have to be served with subpoenas for depositions and           trial.   The Bank of

America employees familiar with the RCS accounts are also apparently in New                    York.   Rule

a5(c)(1) of the Federal Rules of Civil Procedure, made applicable here by Fed. R. Bankr. P.9016

only permits this Court to subpoena witnesses who either live, work or transact business in

Delaware or within 100 miles of Wilmington, Delaware.

                   H.     Ease of Access To Records

                   The records of RCS, the debtor, and SRZ are located in the Southern District of New

York. Perschetz Aff., at2.

                   In sum, the Southern District of New York is a significantly more convenient forum

for the parties and witnesses than Delaware       -   where none of the parties reside, no records are

maintained, and where none of the alleged conduct took place. "fP]ractical considerations...would

make the trial easy, expeditious [and] inexpensive" in New         York. IPC Int'l Corp., 2014 Bankr.

LEXIS, at*16; Jumara, 55 F.3d at879. This case should therefore be transferred to the Southern

District of New York, where RCS and SRZ agreed to arbitrate any dispute. See, e.g., In re U.S.
'Wireless
            Corp., 2004 WL 1146098, *2 (Bankr. D. Del. 2004) ("California is the location of all

relevant documents. Also, the conduct giving rise to the causes of action occurred in California

where [defendant] is located and where Debtor's headquarters were located. The location of most

if not all, of the witnesses who will   be needed for trial are located in California."; transfer ordered;

plaintiff had California counsel.). Lucarelli v. Rental Treatment Ctrs.-III, Inc., 2008 U.S. Dist.

LEXIS 7773, at *12 (D. Nev. 2003) (transfer to Missouri was proper when evidence and witnesses

of the defendant were located in Missouri, witnesses and lawyers would have to travel for trial and

Missouri "ha[d] the most significant relationship to [the] case").




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                                                CONCLUSION

                       For the reasons set forth above, this action should be transferred to the Southern

District of New York for the convenience of the               and witnesses involved.

Dated: March 6,2018
                                                                                         (
       V/ilmington, Delaware

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